UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MARGUERITE BAGAROZZI
Plaintiff, COMPLAINT
-against-
NEW YORK CITY DEPARTMENT OF JURY TRIAL DEMANDED

EDUCATION; SHOMARI AKIL, PRINCIPAL
of QUEENS ACADEMY HIGH SCHOOL;
NATHIFA MORRIS, ASSISTANT
PRINCIPAL of QUEENS ACADEMY HIGH
SCHOOL,

Defendants.

 

Plaintiff MARGUERITE BAGAROZZI, by and through her attorneys GLASS
KRAKOWER LLP, as and for her Complaint, alleges as follows:

PRELIMINARY STATEMENT

l. Plaintiff, tenured English teacher, Marguerite Bagarozzi brings this action against the
New York City Department of Education (“NYCDOE”), as well as her former Principal,
Shomari Akil, and former Assistant Principal, Nathifa Morris, (l) pursuant to 42 U.S.C. Section
1983 for retaliation based on her union activity as protected by the First Amendment; (2)
pursuant to the Rehabilitation Act of 1973, Section 504, 29 USC § 794, for retaliation after
Plaintiff filed grievances on behalf of students with special needs; (3) pursuant to the Americans
with Disabilities Act (“ADA”), 42 U.S.C. § 12101, et seq., for retaliation after Plaintiff filed
grievances on behalf of students with special needs; (4) pursuant to the Age Discrimination in
Employment Act (“ADEA”); (5) pursuant to Title VII of the Civil Rights Act of 1964 (“Title

VII”), (6) pursuant to 42 U.S.C. Section 1981; (7) pursuant to the New York State Human Rights

Law ( “NYSHRL”); and (8) pursuant to the New York City Human Rights Law ( “NYCHRL”),
based on age and race discrimination at her workplace.
JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, because this
action involves the First Amendment, Rehabilitation Act, ADA, ADEA and Title VII, Section
1981 and 1983.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b) and (c) because a
substantial part of the acts or omissions giving rise to this action occurred in this District and '

Defendants are subject to personal jurisdiction in this District.

THE PARTIES
4. Plaintiff Marguerite Bagarozzi is a resident of the City of New York and State of New
York.
5. At all times relevant herein, Defendant NYCDOE is a city school district established

pursuant to Title II, Article-52-A of the New York State Education Law, NY Educ. Law Section
2590 et seq., and a recipient of federal and state funds.

6. At all times relevant herein, Shomari Akil was the Principal of Queens Academy High
School, a high school in District 25 of Queens, New York, within the NYCDOE. Upon
information and belief, he is approximately 53 years old and is black. He is sued in his
, individual and official capacity.

7. At all times relevant herein, Nathifa Morris was an Assistant Principal at Queens
Academy High School in Queens, New York, within the NYCDOE. Upon information and
belief, she is approximately 40 years old and black. She is sued in her individual and official

capacity.

FACTUAL ALLEGATIONS

8. Plaintiff has been employed as a high school English teacher at Queens Academy High
School (“the School”) since 2007.

9. She has been teaching within the NYCDOE since 2000.

10. Plaintiff has generally been rated Satisfactory and/or Effective and/or Highly Effective
throughout her teaching career.

11. Plaintiff is 68 years old and white.

12. Plaintiff is among the eldest and most senior teachers at the School.

13. Plaintiff was the surrogate for the union chapter leader for the Jarnaica campus of the
School since the beginning of the 2016-17 school year. As union surrogate, Plaintiff acted on
behalf and in the stead of` the former union chapter leader, Jennifer Squires.

14. Defendants Akil and Morris are significantly younger than Plaintiff and black.

15. Defendant Akil has been principal at the School since the 2015-16 school year. However,
Defendant Akil was removed as principal of the School in or around August 2017.

16. Defendant Morris was excessed from the School in or around September 2017.

17. During the 2016-17 school year, Plaintiff filed grievances on behalf of herself and others
at the School as surrogate to the union chapter leader.

18. On November 14, 2016, Plaintiff filed a grievance of the faculty and staff at the School
regarding parking permits that were not extended to all staff members at the school. Following
the filing of this grievance, all faculty and staff were granted the privilege to park by the back of
the School. Parking was rescinded shortly thereafter, yet there were several non-white faculty

members that continued to park in the lot.

19. On December 1, 2016, Plaintiff filed a grievance against her administration on behalf of
students at the School relating to students with special needs not receiving mandated services,
which was in violation of city and state law. Eventually, as a result of this grievance, a self-
contained special education teacher was hired at the school.

20. Following the issuance of these grievances, during the second half of the 2016-17 school
year, Plaintiff suddenly started receiving less-than-effective evaluations alier having received a
Highly Effective Measure of Teacher Performance (“MOTP”) and Effective Advance Overall
Rating the year before.

21. Plaintiff was given no notice of when she would be observed, despite similarly situated
younger, non-white teachers being given such notice.

22. Plaintiff ultimately received a Developing MOTP during the 2016-17 school year as a
result of these less-than-effective evaluations

23. Plaintiff also received unwarranted disciplinary letters and became the subject of
unwarranted investigations during the 2016-17 school year.

24. Specifically, after Plaintiff fell at school on December 22, 2016 due to a slippery floor,
Defendant Akil accused Plaintiff of intentionally falling in order to defraud Defendants.
Defendant Akil initiated an unwarranted investigation with the Special Commissioner of
Investigation for the New York City School District (“SCI”), which was substantiated by SCI but
later unsubstantiated and dismissed by an impartial Section 3020-a hearing officer.

25. On March 10, 2017, Defendant Morris issued Plaintiff a letter advising her to change her
grading policy. Plaintiff complied with this directive, yet Defendants failed to memorialize this

in writing.

26. On May 5, 2017, Assistant Principal (“AP”) Derek Phillips issued Plaintiff a disciplinary
letter, at the direction of Defendants, substantiating an allegation of verbal abuse against her,
which was issued late in violation of the UFT-DOE contract.

27. On May 18, 2017, AP Phillips, at the direction of Defendants, issued Plaintiff another
letter informing Plaintiff once again that the same allegation as contained in the May 5, 2017
letter was substantiated, again which Was issued late in violation of the UFT-DOE contract.

28. Plaintiff is aware of similarly situated, younger, non-White teachers at the School that
have been treated better than Plaintiff, including, but not limited to, not being given advance
notice of meetings on numerous occasions that the similarly situated younger non-white teachers
Were given notice of.

29. In or around October 2016, Plaintiff injured her foot/toe and had difficulty walking She
requested from Defendant Akil permission to park closer to the school, but he denied her request.
However, Plaintiff Was aware of other younger, non-White teachers who had been given
permission to park closer to the school than Plaintiff by Defendant Akil.

30. Additionally, Plaintiff was denied the opportunity to earn per session income during the
2015-16 and 2016-17 school years than similarly situated younger, non-white teachers were
given. These opportunities were not even posted, as they should have been, but were rather
directly given to certain individuals by Defendants.

31. On or about May 25, 2017, Plaintiff was reassigned from her teaching assignment
because she had been served with Education Law Section 8020-a (“3020-a”) disciplinary charges
that same day. However, Plaintiff remained in the building at all times.

32. The Section 3020-a charges contained five distinct specifications relating to two alleged

incidents.

33. The first allegation dated back to the 2014-15 school year, while the second allegation
dated back to the 2016-17 school year.

34. Because of Plaintiff’s reassignment from her duties, she has been unable to earn per
session and summer school pay_which she had obtained the previous three years-causing her
significant economic loss.

35. From May 25, 2017 until the end of the school year, Plaintiff was denied access to her
classroom to collect her personal and professional belongings Plaintiff had no access to her
library of material, costly decorations and various accoutrements, resulting in financial loss.

36. On June 21, 2017, the School’s annual Staff Potluck Luncheon took place. Plaintiff was
the only teacher not given an email regarding this event.

37. On June 28, 2017, the School’s graduation ceremony took place. Plaintiff was the only
individual not invited to the ceremony.

38. On or about July 3, 2017, due to her pending Section 3020-a hearing, Plaintiff went to the
School to obtain a copy of her personnel file, as was her right. From about May 25, 2017 to this
day, Plaintiff had repeatedly requested access to her file, but was denied such access.

39. On July 3, 2017, when she arrived at the School, AP Phillips denied Plaintiff the
opportunity to see her file after three requests. Only after Plaintiff threatened to contact her union
and SCI was she granted access to her file.

40. Upon examining her file, Plaintiff saw that new letters had been placed in her file that she
had never seen, in contravention of lawful procedure

41. On August 10, 2017, Plaintiff filed a complaint with the New York State Division of

Human Rights (“DHR”), alleging race and age discrimination, as well as retaliation.

42. Beginning October 18, 2017, and continuing on December 12, 13, 19, 2017 and January
3, 8 and 10, 2018, Plaintiff attended scheduled hearing days for her Section 3020-a disciplinary
hearing
43. On January 30, 2018, Lisa C. Charles, a Section 3020-a Hearing Officer, issued a
decision substantiating the allegation dating back to the 2014-15 school year but dismissing the
allegation related to the 2016-17 school year against Plaintiff. She issued Plaintiff a $2,000
penalty as a result of the Section 3020-a hearing.
44. Notably, the Hearing Officer dismissed all of the allegations initiated against her by
Defendant Akil.
45. Plaintiff received a Notice of Right to Sue letter from the U.S. Equal Employment
Opportunity Commission dated March 5, 2018. A copy of Plaintiff’s Right to Sue letter is
annexed hereto.
FIRST CLAIM FOR RELIEF
(Against all Defendants - First Amendment Retaliation)

46. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth herein.

47. Plaintiff, as union surrogate chapter leader, filed grievances on behalf of herself and the
faculty and staff at the School.

48. The grievances filed on behalf of Plaintiff touched on matters of public concern.

49. Defendants, through the aforementioned conduct, have violated 42 U.S.C. Section 1983,
by retaliating against Plaintiff by advocating for other members as a union surrogate in violation
of the First Amendment.

50. As a result, Plaintiff has suffered damages to be determined at trial.

51.

SECOND CLAIM FOR RELIEF

(Against all Defendants - Retaliation in Violation of the Rehabilitation Act)
52. Plaintiff repeats and rcalleges all the preceding paragraphs of this Complaint, as if fully
set forth herein.
53. Plaintiff filed a grievance on behalf of the students with special needs at her school.
54. These students were the beneficiaries of federal funding subject to Section 504 of the
Rehabilitation Act.
55. The School was violating the needs of the students with special needs by denying them
services mandated by federal, state and local law.
56. In response to Plaintiff’s grievance on behalf of the special needs students, Defendants
retaliated against Plaintiff in the form of less-than-effective evaluations, letters to file,
investigations, and 3020-a charges

57. As a result, Plaintiff has suffered damages to be determined at trial.

THIRD CLAIM FOR RELIEF
(Against Defendant NYCDOE - Retaliation in Violation of the Americans with Disabilities
Act)
58. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth herein,
59. Plaintiff filed a grievance on behalf of the students with special needs at her school.
60. These students were the beneficiaries of state and city funding.
61. The School was violating the needs of the students with special needs by denying them

services mandated by federal, state and local law.

62. In response to Plaintiff’s grievance on behalf of the special needs students, Defendants
retaliated against Plaintiff in the form of less-than-effective evaluations, letters to file,
investigations, and 3020-a charges.

63. As a result, Plaintiff has suffered damages to be determined at trial.

FOURTH CLAIM FOR RELIEF
(Against Defendant NYCDOE - Age Discrimination in Violation of ADEA)
64. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth herein.
65. Defendants, through the aforementioned conduct, have violated the federal Age
Discrimination in Employment Act, by discriminating against Plaintiff by rating her in a less-
than-effective manner; issuing her unwarranted disciplinary letters to file; bringing her up on
Education Law Section 3020-a disciplinary charges; reassigning Plaintiff away from her duties;
and denying Plaintiff the opportunity to earn per session and summer school pay.
66. As a result, Plaintiff has suffered damages to be determined at trial.
FIFTH CLAIM FOR RELIEF
(Against Defendant NYCDOE - Race Discrimination in Violation of Title VII)
67. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth herein,
68. Defendant, through the aforementioned conduct, has violated Title VII, by discriminating
against Plaintiff by rating her in a less-than-effective manner; issuing her unwarranted

disciplinary letters to file; bringing her up on Education Law Section 3020-a disciplinary

charges; reassigning Plaintiff away from her duties; and denying Plaintiff the opportunity to earn
per session and summer school pay.

69. As a result, Plaintiff has suffered damages to be determined at trial.

SIXTH CLAIM FOR RELIEF

(Against Defendant NYCDOE - Race Discrimination in Violation of 42 USC Section 1981)
70. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth hereinl

71. Defendant, through the aforementioned conduct, has violated 42 U.S.C. Section 1981, by
discriminating against Plaintiff by rating her in a less-than-effective manner; issuing her
unwarranted disciplinary letters to file; bringing her up on Education Law Section 3020-a
disciplinary charges; reassigning Plaintiff away from her duties; and denying Plaintiff the
opportunity to earn per session and summer school pay.

72. As a result, Plaintiff has suffered damages to be determined at trial.

SEVENTH CLAIM FOR RELIEF

(Against all Defendants - Age and Race Discrimination in Violation of NYSHRL)

73. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth herein.

74. Defendants, through the aforementioned conduct, have violated the NYSHRL, by
discriminating against Plaintiff by rating her in a less-than-effective manner; issuing her

unwarranted disciplinary letters to file; bringing her up on Education Law Section 3020-a

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disciplinary charges; reassigning Plaintiff away from her duties; and denying Plaintiff the
opportunity to earn per session and summer school pay.

75. As a result, Plaintiff has suffered damages to be determined at trial.

EIGHTH CLAIM FOR RELIEF

(Against all Defendants - Age and Race Discrimination in Violation of NYCHRL)

76. Plaintiff repeats and realleges all the preceding paragraphs of this Complaint, as if fully
set forth herein.

77. Defendants, through the aforementioned conduct, have violated the NYSHRL, by
discriminating against Plaintiff by rating her in a less-than-effective manner; issuing her
unwarranted disciplinary letters to file; bringing her up on Education Law Section 3020-a
disciplinary charges; reassigning Plaintiff away from her duties; and denying Plaintiff the
opportunity to earn per session and summer school pay.

78. As a result, Plaintiff has suffered damages to be determined at trial.

JURY DEMAND

Plaintiff demands a trial by a jury on all of the triable issues of this Complaint.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for declaratory relief and damages as follows:
A. A declaratory judgment that Defendant NYCDOE is in violation of the First
Amendment;
B. A declaratory judgment that Defendant NYCDOE is in violation of the federal

ADA;

ll

Dated:

A declaratory judgment that Defendant NYCDOE is in violation of the federal
Rehabilitation Act;

A declaratory judgment that Defendant NYCDOE is in violation of the federal
ADEA;

A declaratory judgment that Defendant NYCDOE is in violation of Title Vll;

A declaratory judgment that Defendant NYCDOE is in violation of 42 U.S.C.
Section 1981;

A declaratory judgment that Defendants are in violation of New York State
Human Rights Law;

A declaratory judgment that Defendants are in violation of New York City
Human Rights Law;

Awarding Plaintiff compensatory damages (including but not limited to emotional
distress damages) and punitive damages (to the extent available) pursuant to the
Rehabilitation Act, ADEA, Title Vll, 42 U.S.C. Section 1981, and the New York
State and City Human Rights LaW',

Awarding Plaintiff costs and reasonable attorneys’ fees; and

Such other and further relief as to this Court may deem necessary, just and proper.

New York, New York
l\/lay 28, 2018

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